                       Case 5:24-cv-00717-OLG Document 5 Filed 06/27/24 Page 1 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      Western District of Texas

                        LOGAN PAUL,                               )
                           Plaintiff,                             )
                                                                  )
                                                                  )                SA:24-CV-717-OLG
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No.
                                                                  )
    STEPHEN FINDEISEN AND COFFEE BREAK                            )
     PRODUCTIONS LLC D/B/A COFFEEZILLA,
                                                                  )
                 Defendants.
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defe ndant's name and address) Coffee Break Productions LLC dba Coffeezilla
                                       Registered Agent: lncorporateMax Inc.
                                       25700 1-45 North #4119
                                       The Woodlands, TX 77386




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                       Shelby O'Brien
                                       Enoch Kever PLLC
                                       7600 N. Capital of Texas Hwy
                                       Bldg. B, Suite 200
                                       Austin, TX 78731


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT, PHILIP J. DEVLIN

           06/27/2024
Date:
                                                                                       Signature of Clerk or Deputy Clerk
                         Case 5:24-cv-00717-OLG Document 5 Filed 06/27/24 Page 2 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           0 I returned the summons unexecuted because                                                                              ; or

           0 Other (specify):




           My fees are$                            for travel and $                  for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address

 Additional information regarding attempted service, etc:
                       Case 5:24-cv-00717-OLG Document 5 Filed 06/27/24 Page 3 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                     Western District of Texas

                        LOGAN PAUL,                              )
                           Plaintiff,                            )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )                  SA:24-CV-717-OLG
                                                                 )
                                v.                                       Civil Action No.
                                                                 )
    STEPHEN FINDEISEN AND COFFEE BREAK                           )
     PRODUCTIONS LLC D/B/A COFFEEZILLA,
                                                                 )
                 Defendants.
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Stephen Findeisen
                                       26314 Tawny Way
                                       Boerne, TX 78015-4890




          A lawsuit has been filed against you.

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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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                                       7600 N. Capital of Texas Hwy
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                                                                            CLERK OF COURT, PHILIP J. DEVLIN

                06/27/2024
Date:
                                                                                      Signature of Clerk or Deputy Clerk
                         Case 5:24-cv-00717-OLG Document 5 Filed 06/27/24 Page 4 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

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 Date:
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address

 Additional information regarding attempted service, etc:
